
In re Smith, Kevin D.; — Plaintiff(s); applying for supervisory and/or remedial writs; Parish of East Baton Rouge, 19th Judicial District Court, Div. “A”, No. 415-544; to the Court of Appeal, First Circuit, No. CW96-2791.
Writ granted. The court of appeal is ordered to reach the merits of relator’s application so as to afford him reasonable access to the courts. See La. Const. art. I, sec. 22; *75State ex rel. Johnson v. Maggio, 440 So.2d 1336, 1337 (La.1983); Smith v. Cajun Insulation, 392 So.2d 398, 402 n. 2 (La.1980).
KIMBALL, J., not on panel.
